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     ~AO 2458 (CASD) (Rev. 1/12)    Judgment m a Criminal Case
                                                                                                                                FILED
                Sheet I
                                                                                                                               S~r:P   , 7 ?n1'l
                                                                                                                   1$ ClER;<. I.S. Oi.5'iRIC":' (0:.;,\"­
                                               UNITED STATES DISTRICT COUI1 y UTMER ... DISTRICT SF'r"......""'.., ~"~"i'
                                                                                                                    ""t'l>._
                                                                                                                                                       DE;:;!.,.. -\I
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                         v.                                          (For Offenses Committed On or After November I, 1987)

                             William Fountain -3                                     Case Number: 12-cr-01848-JAH-3
                                                                                       Leila W Morgan Federal Defenders
                                                                                     Defendant's Attorney
    REGISTRATION NO. 62940112

    D
    THE DEFENDANT:
    181 pleaded guilty to count(s) One of the Superseding indictment
    D was found guilty on count(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
    Title & Section                           Nature of Offense                                                                             Numberls)
18:371; 18:981(a)(1)(C)               Conspiracy to Commit Wire Fraud and Money Laundering                                                         I
and 982; 28:2461(c)




        The defendant is sentenced as provided in pages 2 through                5          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D    The defendant has heen found not guilty on count(s)

 181 Count(S)_re_m_a_in_i...;ng"'-_ _ _ _ _ _ _ _ _ _---------------------------------------------
                                                      _ _ _ _ _ _ _ is D arel8l dismissed on the motion of the United States.
 181 Assessment: $100.00

  181 No fine                                       o      Forfeiture pursuant to order filed
                                                                                                   ----------------            , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attomey for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                       ED STATES DISTRICT JUDGE


                                                                                                                                           12-cr-O I 848-JAH-3
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AO 2458 (CASD) (Re\', ]/12) Judgment in a Criminal Case
           Sheet 2 - imprisonment

                                                                                             Judgment   Page _ _2__ of        5
 DEFENDANT: William Fountain -3
 CASE NUMBER: 12-cr-01848-JAH.3
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         FORTY-TWO (42) MONTHS



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    jgJ The court makes the following recommendations to the Bureau of Prisons:
         That the defendant participate in the 500 hours drug treatment program (RDAP)
         That the defendant serve his sentence in a south west region facility.



    o The defendant is remanded to the custody of the United States Marshal.
    o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Da.m.    0 p.m.    on
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before -------------------------------------------------------------
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.
                                                              RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy ofthis judgment.


                                                                                           UNITED STATES MARSHAL


                                                                     By __________~~~~~~~~~~---------
                                                                                        DEPUTY UNITED STATES MARSHAL




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AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page ---L- of _---=5:....-_ _
DEFENDANT: William Fountain -3
CASE NUMBER: 12-cr-Ot848-JAH-3
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS

         The defendant sball report to the probation office in tbe district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offinses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refmin from any unlawful use of a controUed
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         -­

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future sub stance abuse. (Check, if applicable.)
       The defendant shaH not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000..pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tfie requirements oftbe Sex Offender Registration ana Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by tbe probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
o      The defendant sball participate in an approved program for domestic violence. (Cbeck, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shaH also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION

  I)    the defendant shall not leave tbe judicial district without the permission of tbe court or probation officer;
  2)     tbe defendant shall report to the probation officer in a manner and frequency directed by tbe court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by tbe probation officer and follow the instructions of the probation officer;
  4)     tbe defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant sbaH work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant sball notify tbe probation officer at least ten days prior to any change in residence or employment;
  7)     tbe defendant sball refrain from excessive use of alcohol and sball not purchase, possess, use, distribute, or administer any
         controlled substance or any parapbernalia related to any controlled substances, except as prescribed by a physician;
  8)     tbe defendant sball not frequent places wbere controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant sball not associate with any persons engaged in criminal activity and shaH not associate witb any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     tbe defendant shall permit a probation officer to visit him or her at any time at bome or elsewbere and shall permit confiscation of any
         contraband observed in plain view oftbe probation officer;
 II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     tbe defendant sball not enter into any agreement to act as an informer or a special agent of a law enforcement agency witbout the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by tbe defendant's criminal
         record or personal bistory or cbamcteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with sucb notification requirement.

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         AO 245B (CASD) (Rev. li12) Judgment in a Criminal Case
                    Sheet 4 - Special Conditions
                                                                                                           Judgment-·~Page   ...-..L- of _.....::5_ __
         DEFENDANT: William Fountain -3
         CASE NUMBER: 12-cr-01848-JAH-3




                                               SPECIAL CONDITIONS OF SUPERVISION
t8l Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
      reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
      search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
      this condition.

o     If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
      officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o Not transport, harbor, or assist undocumented aliens.
o     Not associate with undocumented aliens or alien smugglers.
o     Not reenter the United States illegally.
o     Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
o     Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o     Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o     Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o     Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
      psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
      and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
      information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
      amount to be determined by the probation officer, based on the defendant's ability to pay.
o officer,
  Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
           if directed.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
      probation officer.
o     Complete 100 hours of community service in a program approved by the probation officer.
181   Resolve all outstanding warrants within         90    days.
o     Complete             hours of community service in a program approved by the probation officer within
o     Complete a residential drug treatment program as directed by the Probation Officer.

181 Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
      probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
      contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

181 Not engage in the employment or profession involving loan processing or modification services, home mortgages, real estate, or any
      employment or profession involving fiduciary responsibilities.




                                                                                                                                       12-cr-01848-JAH-3
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A0245S      Judgment in Criminal Case
            Sheet 5 - Criminal Monetary Penalties

                                                                                                    Judgment   Page _ _5_ _ of         5

DEFENDANT: William Fountain                                                                  D
CASE NUMBER: 12-cr-OI848-JAH-3

                                                           RESTITUTION

The defendant shall pay restitution in the amount of _ _ _$_5_3_2,_6_87_._0_0_ _ _ unto the United States of America.




         This sum shall be paid         __ immediately.
                                         IC as follows:


          Pay restitution in the amount of $532,687.00 to the victim listed below, through the Clerk, U. S. District Court. Payment
          of restitution shall be forthwith. During any period of incarceration the defendant shall pay restitution through the Inmate
          Financial Responsibility Program at the rate of 50% of the defendant's income, or $25.00
          per quarter, whichever is greater. The defendant shall pay the restitution during his supervised release at the rate of $1 00
          per month. These payment schedules do not foreclose the United States from exercising all legal actions, remedies, and
          process available to it to collect the restitution judgment.

          Until restitution has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney's Office
          of any change in the defendant's mailing or residence address, no later than thirty (30) days after the change occurs.

          VICTIM:
          SAND CANYON CORPORATION
          7595 IRVINE CENTER DRIVE, STE. 100
          IRVINE, CA. 92618




     The Court has determined that the defendant         does not   have the ability to pay interest. It is ordered that:

   K         The interest requirement is waived.

            The interest is modified as follows:




                                                                                                   12-cr-01848-JAH-3
